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                   EXHIBIT B
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                                        IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLORADO

                   Criminal Case No. 21-cr-0229-RBJ

                   UNITED STATES OF AMERICA,

                                    Plaintiff,

                   v.

                           1. DAVITA INC.,

                           2. KENT THIRY,

                                    Defendants.

                 _____________________________________________________________________________

                  DECLARATION OF DAVID MONCURE CERTIFYING RECORDS PURSUANT TO
                                       FEDERAL RULE OF EVIDENCE 902
                 _____________________________________________________________________________


                   I, David Moncure, attest, under penalties of perjury by the laws of the United States of

          America pursuant to 28 U.S.C. § 1746, that the information contained in this certification is true

          and correct. I am employed by DaVita Inc. (hereinafter “the entity”), and my title is Vice President

          and Associate General Counsel Information Lifecycle Governance. I am qualified to authenticate

          the records attached hereto because I am familiar with how the records were created, managed,

          stored, and retrieved. I state that the records attached hereto are true duplicates of the original

          records in the custody of the provider. The attached records are labeled as the Bates numbers

          identified in Appendix A.

                   I further state that all records listed in this certificate were generated by an electronic

          process or system of DaVita Inc. that produces an accurate result from records made at or near the

          time of the occurrence of the matter set forth by, or from information transmitted by, a person with

          knowledge of those matters, and that those records were kept in the ordinary course of the regularly

          conducted business activity of the entity and were made by the entity as a regular practice, to wit:
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                            1.        the records were copied from electronic device(s), storage medium(s), or

          file(s) in the custody of the entity in a manner to ensure that they are true duplicates of the original

          records; and

                                 2.     the process or system is regularly verified by the entity, and at all times

          pertinent to the records certified here the process and system functioned properly and normally.

                   I further state that this certification is intended to satisfy Rules 902(11), 902(13), and

          902(14) of the Federal Rules of Evidence.




           Date                                     Signature
               April 4, 2022
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                                                             APPENDIX A

             Exhibit    Bates                                        Exhibit   Bates
             A-015      DOJ-PROD001A-00000074                        A-283     DOJ-PROD003-00121813
             A-016      DOJ-PROD001A-00000077                        A-284     DOJ-PROD003-00122202
             A-017      DOJ-PROD001A-00000083                        A-286     DOJ-PROD003-00123239
             A-018      DOJ-PROD001A-00000085                        A-287     DOJ-PROD003-00127879
             A-022      DOJ-PROD001A-00000228                        A-293     DOJ-PROD003-00140554
             A-023      DOJ-PROD001A-00000229                        A-294     DOJ-PROD003-00140623
             A-026      DOJ-PROD001A-00000241                        A-295     DOJ-PROD003-00140626
             A-031      DOJ-PROD001A-00000296                        A-296     DOJ-PROD003-00140957
             A-239      DOJ-PROD003-00024408                         A-297     DOJ-PROD003-00141371
             A-247      DOJ-PROD003-00117967                         A-298     DOJ-PROD003-00141510
             A-248      DOJ-PROD003-00117998                         A-300     DOJ-PROD003-00141792
             A-249      DOJ-PROD003-00118055                         A-302     DOJ-PROD003-00144207
             A-250      DOJ-PROD003-00118067                         A-305     DOJ-PROD003-00144211
             A-251      DOJ-PROD003-00118093                         A-307     DOJ-PROD003-00144216
             A-252      DOJ-PROD003-00118095                         A-309     DOJ-PROD003-00145930
             A-253      DOJ-PROD003-00118107                         A-313     DOJ-PROD003-00155977
             A-254      DOJ-PROD003-00118138                         A-315     DOJ-PROD003-00169312
             A-255      DOJ-PROD003-00118327                         A-318     DOJ-PROD003-00169970
             A-257      DOJ-PROD003-00118499                         A-319     DOJ-PROD003-00169971
             A-259      DOJ-PROD003-00118598                         A-324     DOJ-PROD003-00175942
             A-260      DOJ-PROD003-00118627                         A-328     DOJ-PROD003-00193035
             A-262      DOJ-PROD003-00118801                         A-331     DOJ-PROD003-00210298
             A-263      DOJ-PROD003-00118805                         A-332     DOJ-PROD003-00213488
             A-264      DOJ-PROD003-00118810                         A-338     DOJ-PROD003-00245184
             A-265      DOJ-PROD003-00119208                         A-339     DOJ-PROD003-00245189
             A-266      DOJ-PROD003-00119236                         A-340     DOJ-PROD003-00251192
             A-267      DOJ-PROD003-00119412                         A-343     DOJ-PROD003-00261984
             A-268      DOJ-PROD003-00119425                         A-344     DOJ-PROD003-00270058
             A-270      DOJ-PROD003-00119595                         A-345     DOJ-PROD003-00270134
             A-271      DOJ-PROD003-00119618                         A-355     DOJ-PROD003-00287173
             A-272      DOJ-PROD003-00119720                         A-356     DOJ-PROD003-00287268
             A-273      DOJ-PROD003-00119916                         A-357     DOJ-PROD003-00322431
             A-275      DOJ-PROD003-00120006                         A-363     DOJ-PROD003-00367636
             A-278      DOJ-PROD003-00120916                         A-364     DOJ-PROD003-00367697
             A-279      DOJ-PROD003-00120927                         A-365     DOJ-PROD003-00367698
             A-280      DOJ-PROD003-00121029                         A-366     DOJ-PROD003-00367839
             A-281      DOJ-PROD003-00121439                         A-369     DOJ-PROD003-00375717
             A-282      DOJ-PROD003-00121624                         A-377     DOJ-PROD003-00381724
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             Exhibit    Bates                                Exhibit   Bates
             A-378      DOJ-PROD003-00382046                 A-662     DOJ-PROD021-00000896
             A-380      DOJ-PROD003-00382552                 A-663     DOJ-PROD021-00000899
             A-381      DOJ-PROD003-00383922                 A-664     DOJ-PROD021-00000901
             A-382      DOJ-PROD003-00384162                 A-666     DOJ-PROD021-00000982
             A-383      DOJ-PROD003-00384296                 A-667     DOJ-PROD021-00000983
             A-384      DOJ-PROD003-00385744                 A-668     DOJ-PROD021-00000985
             A-385      DOJ-PROD003-00432538                 A-669     DOJ-PROD021-00000989
             A-391      DOJ-PROD003-00439762                 A-670     DOJ-PROD021-00001108
             A-392      DOJ-PROD003-00440790                 A-671     DOJ-PROD021-00001109
             A-395      DOJ-PROD003-00440794                 A-675     DOJ-PROD021-00001113
             A-400      DOJ-PROD003-00459807                 A-676     DOJ-PROD021-00001191
             A-407      DOJ-PROD003-00644252                 A-677     DOJ-PROD021-00001192
             A-409      DOJ-PROD003-00724181                 A-678     DOJ-PROD021-00001193
             A-410      DOJ-PROD003-01067841                 A-680     DOJ-PROD021-00001195
             A-411      DOJ-PROD003-01067897                 A-681     DOJ-PROD021-00001197
             A-412      DOJ-PROD003-01068657                 A-682     DOJ-PROD021-00001198
             A-415      DOJ-PROD003-01073656                 A-685     DOJ-PROD021-00001202
             A-416      DOJ-PROD003-01074921                 A-686     DOJ-PROD021-00001203
             A-419      DOJ-PROD003-01414351                 A-688     DOJ-PROD021-00001207
             A-422      DOJ-PROD003-01585088                 A-689     DOJ-PROD021-00001209
             A-481      DOJ-PROD016-00004110                 A-690     DOJ-PROD021-00001210
             A-482      DOJ-PROD016-00010943                 A-692     DOJ-PROD021-00001212
             A-484      DOJ-PROD016-00011640                 A-693     DOJ-PROD021-00001215
             A-487      DOJ-PROD016-00012805                 A-694     DOJ-PROD021-00001217
             A-489      DOJ-PROD016-00013624                 A-695     DOJ-PROD021-00001220
             A-490      DOJ-PROD016-00013667                 A-696     DOJ-PROD021-00001221
             A-491      DOJ-PROD016-00013704                 A-697     DOJ-PROD021-00001223
             A-601      DOJ-PROD021-00000149                 A-702     DOJ-PROD021-00001244
             A-606      DOJ-PROD021-00000244                 A-703     DOJ-PROD021-00001245
             A-609      DOJ-PROD021-00000250                 A-713     DOJ-PROD021-00001329
             A-614      DOJ-PROD021-00000272                 A-714     DOJ-PROD021-00001330
             A-615      DOJ-PROD021-00000275                 A-715     DOJ-PROD021-00001331
             A-618      DOJ-PROD021-00000288                 A-717     DOJ-PROD021-00001333
             A-621      DOJ-PROD021-00000300                 A-718     DOJ-PROD021-00001334
             A-623      DOJ-PROD021-00000307                 A-719     DOJ-PROD021-00001335
             A-649      DOJ-PROD021-00000587                 A-720     DOJ-PROD021-00001336
             A-656      DOJ-PROD021-00000672                 A-721     DOJ-PROD021-00001337
             A-659      DOJ-PROD021-00000688                 A-723     DOJ-PROD021-00001339
             A-660      DOJ-PROD021-00000891                 A-724     DOJ-PROD021-00001341
             A-661      DOJ-PROD021-00000893                 A-725     DOJ-PROD021-00001343
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             Exhibit    Bates                                Exhibit   Bates
             A-726      DOJ-PROD021-00001345                 A-905     DOJ-PROD021-00002167
             A-727      DOJ-PROD021-00001347                 A-909     DOJ-PROD021-00002171
             A-729      DOJ-PROD021-00001354                 A-914     DOJ-PROD021-00002176
             A-730      DOJ-PROD021-00001356                 A-919     DOJ-PROD021-00002181
             A-736      DOJ-PROD021-00001372                 A-938     DOJ-PROD021-00002200
             A-737      DOJ-PROD021-00001375                 A-949     DOJ-PROD021-00002211
             A-740      DOJ-PROD021-00001384                 A-964     DOJ-PROD021-00002229
             A-741      DOJ-PROD021-00001389                 A-967     DOJ-PROD021-00002232
             A-742      DOJ-PROD021-00001392                 A-969     DOJ-PROD021-00002234
             A-743      DOJ-PROD021-00001400                 A-972     DOJ-PROD021-00002237
             A-745      DOJ-PROD021-00001418                 A-982     DOJ-PROD021-00002248
             A-746      DOJ-PROD021-00001426                 B-017     DOJ-PROD021-00002291
             A-749      DOJ-PROD021-00001436                 B-029     DOJ-PROD021-00002307
             A-750      DOJ-PROD021-00001444                 B-032     DOJ-PROD021-00002312
             A-751      DOJ-PROD021-00001445                 B-042     DOJ-PROD021-00002330
             A-752      DOJ-PROD021-00001453                 B-045     DOJ-PROD021-00002335
             A-753      DOJ-PROD021-00001454                 B-048     DOJ-PROD021-00002339
             A-778      DOJ-PROD021-00001559                 B-053     DOJ-PROD021-00002346
             A-779      DOJ-PROD021-00001560                 B-056     DOJ-PROD021-00002350
             A-783      DOJ-PROD021-00001667                 B-058     DOJ-PROD021-00002354
             A-784      DOJ-PROD021-00001668                 B-067     DOJ-PROD021-00002368
             A-786      DOJ-PROD021-00001712                 B-071     DOJ-PROD021-00002375
             A-788      DOJ-PROD021-00001715                 B-072     DOJ-PROD021-00002376
             A-790      DOJ-PROD021-00002022                 B-075     DOJ-PROD021-00002380
             A-793      DOJ-PROD021-00002025                 B-079     DOJ-PROD021-00002387
             A-794      DOJ-PROD021-00002026                 B-084     DOJ-PROD021-00002394
             A-795      DOJ-PROD021-00002029                 B-089     DOJ-PROD021-00002402
             A-796      DOJ-PROD021-00002036                 B-094     DOJ-PROD021-00002410
             A-801      DOJ-PROD021-00002046                 B-099     DOJ-PROD021-00002418
             A-802      DOJ-PROD021-00002047                 B-103     DOJ-PROD021-00002426
             A-806      DOJ-PROD021-00002053                 B-110     DOJ-PROD021-00002440
             A-807      DOJ-PROD021-00002054                 B-114     DOJ-PROD021-00002446
             A-808      DOJ-PROD021-00002056                 B-119     DOJ-PROD021-00002455
             A-809      DOJ-PROD021-00002058                 B-121     DOJ-PROD021-00002460
             A-822      DOJ-PROD021-00002077                 B-124     DOJ-PROD021-00002466
             A-829      DOJ-PROD021-00002088                 B-126     DOJ-PROD021-00002471
             A-849      DOJ-PROD021-00002110                 B-128     DOJ-PROD021-00002475
             A-855      DOJ-PROD021-00002117                 B-129     DOJ-PROD021-00002477
             A-886      DOJ-PROD021-00002148                 B-130     DOJ-PROD021-00002479
             A-902      DOJ-PROD021-00002164                 B-134     DOJ-PROD021-00002487
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             Exhibit    Bates                                Exhibit   Bates
             B-137      DOJ-PROD021-00002494                 B-249     DOJ-PROD021-00003405
             B-140      DOJ-PROD021-00002500                 B-251     DOJ-PROD021-00003407
             B-144      DOJ-PROD021-00002507                 B-253     DOJ-PROD021-00003410
             B-152      DOJ-PROD021-00002527                 B-255     DOJ-PROD021-00003450
             B-153      DOJ-PROD021-00002529                 B-256     DOJ-PROD021-00003451
             B-154      DOJ-PROD021-00002531                 B-257     DOJ-PROD021-00003452
             B-158      DOJ-PROD021-00002541                 B-262     DOJ-PROD021-00003457
             B-160      DOJ-PROD021-00002546                 B-263     DOJ-PROD021-00003458
             B-162      DOJ-PROD021-00002551                 B-264     DOJ-PROD021-00003459
             B-164      DOJ-PROD021-00002556                 B-265     DOJ-PROD021-00003461
             B-166      DOJ-PROD021-00002560                 B-267     DOJ-PROD021-00003464
             B-168      DOJ-PROD021-00002566                 B-268     DOJ-PROD021-00003465
             B-172      DOJ-PROD021-00002575                 B-270     DOJ-PROD021-00003719
             B-175      DOJ-PROD021-00002584                 B-271     DOJ-PROD021-00003720
             B-178      DOJ-PROD021-00002592                 B-279     DOJ-PROD021-00003730
             B-184      DOJ-PROD021-00002610                 B-281     DOJ-PROD021-00003734
             B-187      DOJ-PROD021-00002620                 B-285     DOJ-PROD021-00003740
             B-188      DOJ-PROD021-00002622                 B-287     DOJ-PROD021-00003744
             B-189      DOJ-PROD021-00002623                 B-291     DOJ-PROD021-00003754
             B-190      DOJ-PROD021-00002625                 B-292     DOJ-PROD021-00003755
             B-191      DOJ-PROD021-00002631                 B-293     DOJ-PROD021-00003756
             B-192      DOJ-PROD021-00002635                 B-294     DOJ-PROD021-00003758
             B-193      DOJ-PROD021-00002636                 B-297     DOJ-PROD021-00003764
             B-196      DOJ-PROD021-00002661                 B-300     DOJ-PROD021-00003769
             B-209      DOJ-PROD021-00002694                 B-304     DOJ-PROD021-00004014
             B-210      DOJ-PROD021-00002697                 B-306     DOJ-PROD021-00004281
             B-213      DOJ-PROD021-00002715                 B-308     DOJ-PROD021-00004283
             B-217      DOJ-PROD021-00002721                 B-309     DOJ-PROD021-00004284
             B-223      DOJ-PROD021-00003103                 B-311     DOJ-PROD021-00004286
             B-224      DOJ-PROD021-00003104                 B-314     DOJ-PROD021-00004289
             B-225      DOJ-PROD021-00003105                 B-316     DOJ-PROD021-00004291
             B-227      DOJ-PROD021-00003107                 B-317     DOJ-PROD021-00004292
             B-228      DOJ-PROD021-00003108                 B-320     DOJ-PROD021-00004295
             B-229      DOJ-PROD021-00003109                 B-322     DOJ-PROD021-00004297
             B-231      DOJ-PROD021-00003111                 B-323     DOJ-PROD021-00004298
             B-236      DOJ-PROD021-00003123                 B-324     DOJ-PROD021-00004299
             B-237      DOJ-PROD021-00003124                 B-325     DOJ-PROD021-00004301
             B-245      DOJ-PROD021-00003135                 B-327     DOJ-PROD021-00004303
             B-246      DOJ-PROD021-00003136                 B-328     DOJ-PROD021-00004304
             B-248      DOJ-PROD021-00003404                 B-329     DOJ-PROD021-00004305
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             Exhibit    Bates                                Exhibit   Bates
             B-332      DOJ-PROD021-00004308                 B-366     DOJ-PROD021-00004371
             B-333      DOJ-PROD021-00004310                 B-367     DOJ-PROD021-00004373
             B-334      DOJ-PROD021-00004311                 B-375     DOJ-PROD021-00004390
             B-336      DOJ-PROD021-00004314                 B-376     DOJ-PROD021-00004393
             B-337      DOJ-PROD021-00004315                 B-377     DOJ-PROD021-00004396
             B-339      DOJ-PROD021-00004318                 B-378     DOJ-PROD021-00004397
             B-340      DOJ-PROD021-00004320                 B-379     DOJ-PROD021-00004401
             B-341      DOJ-PROD021-00004322                 B-381     DOJ-PROD021-00004406
             B-342      DOJ-PROD021-00004323                 B-382     DOJ-PROD021-00004409
             B-343      DOJ-PROD021-00004324                 B-383     DOJ-PROD021-00004413
             B-344      DOJ-PROD021-00004325                 B-384     DOJ-PROD021-00004418
             B-345      DOJ-PROD021-00004327                 B-385     DOJ-PROD021-00004419
             B-347      DOJ-PROD021-00004332                 B-391     DOJ-PROD021-00004437
             B-350      DOJ-PROD021-00004338                 B-393     DOJ-PROD021-00004439
             B-351      DOJ-PROD021-00004339                 B-395     DOJ-PROD021-00004444
             B-356      DOJ-PROD021-00004349                 B-399     DOJ-PROD021-00004517
             B-357      DOJ-PROD021-00004351                 B-401     DOJ-PROD021-00004552
             B-358      DOJ-PROD021-00004353                 B-403     DOJ-PROD021-00004591
             B-359      DOJ-PROD021-00004355                 B-405     DOJ-PROD021-00004606
             B-360      DOJ-PROD021-00004357                 B-449     DOJ-PROD003-00389940
             B-361      DOJ-PROD021-00004360                 B-472     DVA01377888
             B-362      DOJ-PROD021-00004363                 B-506     DVA01377840
             B-363      DOJ-PROD021-00004365                 B-533     DVA01922505
             B-365      DOJ-PROD021-00004369
